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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                             :
PROLITEC INC.,                               :
                                             :
                                             :
         Plaintiff/Counter-Defendant,        :
                                             :      C.A. No. 20-984-WCB
v.                                           :
                                             :
SCENTAIR TECHNOLOGIES, LLC,                  :
                                             :
         Defendant/Counter-Plaintiff.        :
                                             :



                                        [PROPOSED] ORDER

         Having considered Prolitec Motion to Exceed Page Limits, IT IS HEREBY ORDERED that

the Prolitec's Unopposed Motion is GRANTED.

         1.     Opening and Answering Briefs for case dispositive and Daubert briefing may not

exceed 36 pages;

         2.     Reply briefs for case dispositive and Daubert briefing may not exceed 18 pages.

         SO ORDERED this ___ day of _________________, 2024.



                                                    ____________________________________
                                                    Judge Bryson




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